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11
                               UNITED STATES DISTRICT COURT
12                           NORTHERN DISTRICT OF CALIFORNIA
13                                SAN FRANCISCO DIVISION

14       In re:
                                                  Civil Case No. 19-cv-05257 (JD)
15       PG&E CORPORATION
                                                  Bankruptcy Case No. 19-bk-30088 (DM)
16                 - and -
                                                  Chapter 11
17
         PACIFIC GAS AND ELECTRIC                 (Lead Case) (Jointly Administered)
18       COMPANY,
                                                  OFFICIAL COMMITTEE OF
19                                Debtors.        UNSECURED CREDITORS’ STATEMENT
20                                                REGARDING RESPONSE OF OFFICIAL
                                                  COMMITTEE OF TORT CLAIMANTS TO
21                                                DEBTORS’ MOTION TO ESTABLISH
                                                  ESTIMATED AMOUNT OF FIRE VICTIM
22                                                CLAIMS FOR ALL PURPOSES
23                                                Date: May 21, 2020
24                                                Time: 10:00 a.m. (Pacific Time)
                                                  Place: Courtroom 11
25                                                Judge: Hon. James Donato

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 1                 The Official Committee of Unsecured Creditors (the “Creditors’ Committee”) appointed

 2   in the above-captioned chapter 11 cases, by its attorneys Milbank LLP, respectfully states as

 3   follows regarding the Response of the Official Committee of Tort Claimants to Debtors’ Motion

 4   Pursuant to 11 U.S.C. §§ 105(A) and 502(C) to Establish Estimated Amount of Fire Victim Claims

 5   for All Purposes of the Chapter 11 Cases (the “TCC Response”) [Docket No. 295]:1

 6                                                   STATEMENT

 7                 Consistent with the settlement embodied in the TCC RSA,2 the Court should estimate the

 8   Fire Victim Claims at an aggregate value of $13.5 billion. But the Court should not order the

 9   additional relief requested by the TCC, including making any determinations regarding the form

10   and quantum of currency that the recovery on these allowed Fire Victim Claims should receive

11   under the Debtors’ chapter 11 plan.

12                 In December 2019, the Court described the settlement of the Fire Victim Claims embodied

13   in the TCC RSA (proposed at that time) as the “gold standard” for estimation data points and

14   signaled that estimating the Fire Victim Claims at the settled amount would conclude the Court’s

15   charge with respect to estimation. See Dec. 17, 2019 Hr’g Tr. at 6:18-23 (Court: “I don’t think

16   there’s anything left [to do] here either way . . . settlement gets approved, you’re done. Settlement

17   is not approved, you have effectively estimated the loss at $13.5 billion. So what else is there to

18   do?”).

19                 No party took issue with the Court’s view and, indeed, counsel for the TCC was ready to

20   close the estimation proceedings in December. See id. at 9:15-22 (Court: “[I]s there any reason

21   just not to close up shop and send you on your way to . . . the Bankruptcy Court[?]”; Mr. Julian:

22   “I don’t believe there is any reason not to do that.”).

23                 The TCC did not advise the Court then, as it does now, that the TCC believes there is more

24   to do; that we are not done. According to the TCC, the Court should not only estimate the

25   aggregate amount of Fire Victim Claims at $13.5 billion for allowance purposes, but also should

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     1
            On April 3, 2020, the Creditors’ Committee filed a Statement and Reservation of Rights [Docket No. 300],
27          reserving its rights to respond to the TCC Response.
     2
            Capitalized terms not defined herein have the meanings ascribed to them in the Debtors’ and Shareholder
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            Proponents’ Joint Chapter 11 Plan of Reorganization Dated March 16, 2020 (the “Plan”) [Bankr. Docket No.
            6320].

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 1   prescribe the actual recovery on account of those Claims, including the form and quantum of

 2   currency that recovery should take. See TCC Response at 12 (asking the Court to order that the

 3   estimated $13.5 billion claim amount must be “funded with $6.75 billion in cash, the PG&E stock

 4   valued at $6.75 billion . . . so long as $6.75 billion of cash and the $6.75 billion of PG&E stock

 5   each have a value of $6.75 billion”). The TCC asserts that the Court must include these additional

 6   provisions in its order because they would be consistent with the “intent of the Parties” as

 7   purportedly reflected in, among other places, “the plain terms” of the TCC RSA. TCC Response

 8   at 6. “Anything less,” according to the TCC, “will prevent the Bankruptcy Court from being able

 9   to find that the Debtors’ Plan is fair, equitable, and in good faith under Section 1129 of the

10   Bankruptcy Code…” Id.

11           This request for an unwarranted (and unnecessary) expansion of the Court’s jurisdiction

12   must be denied. The order partially withdrawing the reference from the Bankruptcy Court

13   authorized this Court to decide “[t]he 11 U.S.C. § 502(c) estimation of unliquidated personal injury

14   and wrongful death claims against Debtors for all purposes under 28 U.S.C. § 157(b)(2).” Order

15   Adopting Recommendation for Withdrawal of Reference of Proceeding in Part, entered Aug. 22,

16   2019 (the “Withdrawal Order”) [Bankr. Docket No. 3671] at 2:9-11. And 11 U.S.C. § 502(c)

17   authorizes the Court to “estimate . . . contingent or unliquidated claims” for purposes of allowance.

18   Neither the Withdrawal Order nor the statute further authorizes the Court to dictate the form or

19   value of the recovery on the estimated allowed amount of the Fire Victim Claims.3

20           Those matters, even if they were relevant here (and they are not), are governed by the TCC

21   RSA, over which the Bankruptcy Court has retained exclusive jurisdiction. See TCC RSA [Bankr.

22   Docket No. 5038-1] at § 8(b). Thus, the many pages the TCC devotes to the alleged breaches of

23   the TCC RSA (including complaints about the value and the currency of the recovery on the settled

24   Fire Victim Claims) are not properly addressed to this Court. See TCC Response 3-7. Nor, as

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         Case law is in accord. See, e.g., In re N. Am. Health Care, Inc., 544 B.R. 684, 689 (Bankr. C.D. Cal. 2016) ( “the
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         claims should be estimated in the aggregate”); In re Fed.-Mogul Global, Inc., 330 B.R. 133, 154 (D. Del. 2005)
         (estimating claims in the “aggregate allowable amount”);In re Garlock Sealing Tech. LLC, 2017 WL 2539412,
28
         at *9 (W.D.N.C. June 12, 2017) (noting the court estimated the aggregate amount of claims); In re G-I Holdings,
         Inc., 323 B.R. 583, 622-23 (Bankr. D.N.J. 2005) (same).
                                                               2
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 1   should be obvious, should the Court make these extracurricular determinations to influence the

 2   Bankruptcy Court’s determinations under Section 1129 of the Bankruptcy Code.

 3             The TCC Response provides no basis to depart from, or expand on, what the Withdrawal

 4   Order, the Bankruptcy Code, the Court, and even the TCC acknowledge is the Court’s narrow

 5   charge with respect to estimation. Accordingly, the Court should limit its order on the Debtors’

 6   motion to estimating the Fire Victim Claims at the settlement amount embodied in the TCC RSA

 7   ($13.5 billion). Beyond this, as the Court correctly observed after learning of the parties’ aggregate

 8   settlement, there is simply nothing “left to do here.”4

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         DATED: April 10, 2020                           MILBANK LLP
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                                                         /s/ Gregory A. Bray
11                                                       DENNIS F. DUNNE
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12                                                       GREGORY A. BRAY
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13
                                                         Counsel for the Official Committee of
14                                                       Unsecured Creditors
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     4
           If the Court accepts the TCC’s invitation to order the form and quantum of recoveries that Fire Victim Claimants
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           should receive, then the Court should also condition its order on the satisfaction of the conditions precedent set
           forth in the TCC RSA, including that the class of the Fire Victim Claims votes in favor of the Plan and that the
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           Plan is confirmed by June 30, 2020. Doing otherwise may adversely and irreversibly limit the Plan recovery
           available to the Debtors’ unsecured creditors if the Plan fails for any reason.
                                                                 3
